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                           UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF IDAHO

In Re:
                                                       Bankr. Case No. 19-40782-JDP
     JONATHON PEIRSOL,
                                                       Chapter 7
                         Debtor.

R. WAYNE KLEIN, J & J CHEMICAL, INC.,
CHAPTER 11 PLAN ADMINISTRATOR,

                         Plaintiff,
                                                       Adv. Proceeding No. 20-08060-JDP
v.

JONATHON PEIRSOL (aka JON PEIRSOL),

                          Defendant.
                    SETTLEMENT OF ADVERSARY PROCEEDING

         COMES NOW Plaintiff R. Wayne Klein, (“Plan Administrator”), by and through counsel

and Jonathon Peirsol, by and through counsel and hereby agree to settle and resolve the above

captioned adversary proceeding as follows:

            1. Defendant shall pay Plaintiff the sum of $27,000.00 (such funds are currently

               being held in Mr. Bennett’s trust account).

            2. Upon receipt of such payment, Plaintiff shall dismiss the above captioned

               adversary proceeding with prejudice.




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           3. Upon receipt of such payment, Plaintiff shall amend his Claim 7 in the above

               captioned bankruptcy case, releasing any claimed security on the remainder of

               such claim, thereby joining the pool of general unsecured creditors.

           4. All actions above shall be completed by May 20, 2022 unless the parties

               determine that Court approval is required to consummate this agreement, in which

               case, a Motion to Approve this settlement shall be filed by May 20, 2022 and such

               settlement shall be consummated within 10 days of approval, if granted.



               DATED May 16, 2022

                                             PARSONS, SMITH, STONE, LOVELAND & SHIRLEY, LLP

                                             /s/ Rhett M, Miller
                                             Rhett M. Miller
                                             Attorney for Plaintiff

                                             FOLEY FREEMAN

                                             /s/ Matthew G. Bennett via E-Mail 5/16/2022
                                             Matthew G. Bennett
                                             Attorney for Defendant




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                                 CERTIFICATE OF SERVICE

       I hereby certify that I served copies of the foregoing electronically through the CM/ECF
system on May 16, 2022, which caused the following parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:

       Matthew George Bennett on behalf of Defendant Jonathon Peirsol
       mbennett@foleyfreeman.com, abennett@foleyfreeman.com;r59345@notify.bestcase.com

       Rhett Michael Miller on behalf of Plaintiff Wayne Klein
       rhett@pmt.org

                                             PARSONS, SMITH, STONE,
                                             LOVELAND & SHIRLEY, LLP

                                             /s/ Rhett M. Miller______________________
                                             Rhett M. Miller
                                             Attorney for Plaintiff




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